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DEEPWATER HORIZON ECONOMIC AND PROPERTY
SETTLEMENT
BUSINESS ECONOMIC LOSS CLAIM FORM
(PURPLE FORM)

Form ID: PURPLE

ROCON INC
7950 ZEIGLER BLVD
MOBILE, AL 36608

After you complete and sign your Claim Form, submit it to the Claims Administrator as directed in the
Instructions Booklet that accompanies this Claim Form. If you submit your Claim Form by mail or
delivery, do not separate this cover page from the Claim Form. If you have to take this Claim Form apart
to photocopy or fax it, make sure you include this cover page as the first page when you submit it.

[Business Economic Loss Claim Form

aa TO FILE YOUR CLAIM ONLINE VISIT WWW.DEEPWATERHORIZONSETTLEMENTS.COM

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DEEPWATER HORIZON ECONOMIC AND PROPERTY
SETTLEMENT
BUSINESS ECONOMIC LOSS CLAIM FORM
(PURPLE FORM)

To make a Business Economic Loss Claim under the Deepwater Horizon Economic and Property Damages
Settlement Agreement (the “Settlement”) for damages arising from the Deepwater Horizon Incident on April 20,
2010 (the “Spill”), you must complete and submit this Claim Form and all documentation required by the Settlement
(“Supporting Documentation”) to the Claims Administrator on or before April 22, 2014, or six months after the
Effective Date of the Settlement, whichever is later.

The Business Economic Loss Claim is for businesses (including those reporting on Form 1040 Schedules C, E, or
F) that assert economic loss due to the Spill. Commercial Fishermen, Seafood Vessel Owners, Seafood Boat
Captains, Seafood Crew, and Oyster Leaseholders who want to make a claim for economic losses relating to Seafood
must use the Seafood Compensation Program Claim Form (Yellow Form) and not this Business Economic Loss Claim
Form.

When completing this Claim Form, refer to the accompanying booklet called “Instructions for Completing the
Business Economic Loss Claim Form (Purple Form),” which contains detailed instructions for completing and
submitting this Claim Form, helpful definitions, and the list of Supporting Documentation required to prove your
claim.

If you have access to a computer with an internet connection, it will be far easier for you to fill out and submit your
Claim Form online, rather than on this paper Claim Form. The online claim process will guide you through only the
specific questions you need to answer, and will instruct you about the specific Supporting Documentation you must
submit, based on the answers you enter as you go along. Go to www.deepwaterhorizonsettlements.com to submit a
claim online.

If you do not have access to the internet, you may visit a Claimant Assistance Center for assistance with submitting
a claim in person. Section 5 of the Business Economic Loss Instructions Booklet lists the Claimant Assistance
Centers.

A.Claimant Information

Provide the following information about the business on behalf of which you are filing this claim for Business
Economic Loss.

1. Business Name: ROCON INC

2. Social Security Number:
or
Individual Taxpayer Identification SSN or ITIN

Number: Pt} | J-)] | t-) | | ft |

or EIN
Employer Identification Number: 16/31-11,/0;/0)9/71{116)|

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3.

Claim Number: If you previously filed a claim with
the Gulf Coast Claims Facility (*(GCCF”), you will keep
that same seven-digit Claimant Number in the
Deepwater Horizon Settlement Program. Check the box
at the right called “GCCF Claimant Number” and provide
that seven-digit Claimant Number.

If you did not file a claim with the GCCF, you will
receive a new Claimant Number when you file your
initial Registration Form with the Deepwater Horizon
Settlement Program. If you have already received your
new Settlement Program Claimant Number, check the
box called “Deepwater Horizon Settlement Program
Claimant Number” and provide that nine-digit Claimant
Number.

If you do not yet have a Claimant Number, leave this
question blank.

GCCF Claimant Number

111612;81}4|81| 8}

OR

Deepwater Horizon Settlement Program
Claimant Number:

L11O1O1O1Ol21411121

B. Information Required for a Business Economic Loss Claim

If you are making a Business Economic Loss Claim for more than one Claiming Facility, photocopy this section of the
Claim Form before completing it and attach the copy to the Claim Form for submission. Make one copy for each
additional Claiming Facility.

1.

You cannot make an economic loss claim for a business that falls into any of the categories listed
below. Check any and all boxes that describe your business.

Refer to Section 2 of the Business Economic Loss Instructions Booklet for more detailed descriptions of these

categories.

(a) Financial Institution.

(c) Gaming.

(d) Insurance.

(e) Oil and gas industry.

(f}) Defense contractor or subcontractor.
(g) Real estate development.

OOOOOOOO

(b) A fund, financial trust, or other financial vehicle.

(h) Selling or marketing BP-branded fuel at anytime from April 20, 2010, through April 16, 2012.

If you check the box next to any of the above categories, your business is not eligible to make an
Economic Loss Claim, and you should not complete or submit this Claim Form.

2. During the period from April 1, 2010 through December 31, 2010, did your
business maintain more than one separate and distinct physical location? If |[] yes No
you check “Yes,” continue to Question 3. If you check “No,” go to Question 7.

3. Is your business’ headquarters located within the Gulf Coast Areas? O yes C] No
4. Are all of your business’ Facilities located within the Gulf Coast Areas? Cl yes OO No
Does your business maintain separate profit and loss statements for each oO oO

Claiming Facility? Yes No

Business Economic Loss Claim Form

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6. Is your business submitting a claim for all Facilities located within the Gulf
Coast Areas? If you checked “Yes” for Question 3, you may file a consolidated claim
for all Facilities or you may elect to file individual claims for each Claiming Facility
separately. If you checked “No” for Question 3, information must be provided on a
Facility-by-Facility basis, but you may send in each of those claims together to facilitate
efficient processing. Cl yes CJ No

By checking “Yes” to this question, you are indicating that you are submitting a consolidated
Claim for a// Facilities located within the Gulf Coast Areas. If you wish to file a claim for each
Facility separately, check “No.” You may not file a consolidated Claim for only a subset of
your business’ Facilities located within the Gulf Coast Areas.

If you are filing a Business Economic Loss Claim for a Multi-Facility Business and are providing

information on a Facility-by-Facility basis, you must complete Section B, C, D, and E for each

Claiming Facility. Questions 2 through 6 in this section are not required for each individual

Facility. Only Question 1 is required for each individual Facility. Photocopy each section

before completing it and attach the copy to this Claim Form for submission. Make as many

copies as you need.

7. What is the address of your business? For consolidated claims of a Multi-Facility Business with

headquarters in the Gulf Coast Areas, this is the address of the corporate headquarters; otherwise this is the
address of each separate Claiming Facility.

Business Name RoCon, Inc.

Business Address Street
7950 Zeigler Blvd

Headquarters City State Zip Code
Mobile AL 36608
County
Mobile

Business Phone Number ()-

8. In which Economic Loss Zone is your business located? Go to C1 zone A
www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a 0 zone B
Claimant Assistance Center to determine in which Economic Loss Zone your business is
located. CL) Zone c

Zone D

9. Provide the NAICS (North American Industry Classification System) Code for
your business that forms the basis of your Economic Loss Claim. You can 236220

search for your code using www.census.gov/naics.

Provide a description of your business:

RoCon, Inc. is a commercial general contractor and subcontractor specializing in the construction,
maintenance and rehabilitation of roads, bridges, highways, and civil site work projects in Southern
Alabama. These contracts for construction work are entered into with local and state governmental
entities including the Alabama Department of Transportation, Mobile County, Baldwin County,
Washington County, the City of Mobile, the City of Bayou Ia’ Batre, City of Daphne, City of Spanish
Fort, and City of Fairhope, the Alabama State Port Authority, various other state and local entities, and

some developers.

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10. In 2009, did your business provide significant services, goods, and/or

supplies to businesses in the offshore oil & gas industry in the Gulf of Mexico? |] Yes No
What were your business’ total 2009 revenues? 2,156,449.18
What were your business’ total 2009 revenues from the provision of services, goods, and/or 0.00
supplies to businesses in the offshore Oil & Gas Industry in the Gulf of Mexico? °
11. Has your business ceased operations, declared bankruptcy or liquidated OJ Yes No

substantially all of its assets since May 1, 2010? If your business failed between | jf Yes, provide the
May 1, 2010 and December 31, 2011, stop filling out this Claim Form and submit the date your business
Failed Business Economic Loss Claim Form (Red Form) instead. ceased operations:

(Month/Day/Year)

12. Is your business a Start-Up Business? If your business’ operations began on or
after January 1, 2009, stop filling out this Claim Form and submit the Start-up
Business Economic Loss Claim Form (Gray Form) instead. If your business’
operations began after November 1, 2008 but before January 1, 2009, you have the 1 Yes No
option of using this Business Economic Loss Claim Form (Purple Form) and selecting
2009 as your Benchmark Period or proceeding under the Start-Up Business Economic
Loss Claim Form (Gray Form).

13. Did your business participate in the Vessels of Opportunity (VoO) Program? OC] Yes No

Identify any months after the Spill in which your business received revenue from the VoO program,
and the amount of that revenue. Leave this section blank if your business did not receive any revenue
because of participation in the VoO program.

Cc May 2010 oO September 2010
C June 2010 Oo October 2010

CJ July 2010 Oo November 2010
oO August 2010 oO December 2010

CO All Months 2011

Identify any months after the Spill in which your business incurred expenses because of participation
in the VoO program, and the amount of those expenses. Leave this section blank if your business did
not incur expenses because of participation in the VoO program.

oO May 2010 oO September 2010
oO June 2010 oO October 2010
oO July 2010 Oo November 2010
ODO August 2010 - oO December 2010
oO All Months 2011
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14. Identify other sources of income to your business that can be used to reconcile tax returns with

business financial statements, if any.

For Questions B.15 — B.19, consult the definition section in the Business Economic Loss Instructions

Booklet to determine if your business meets the definition or criteria. Go online to
www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a Claimant
Assistance Center to determine in which Economic Loss Zone your business is located and whether it
meets the Tourism Definition.

15. Does your business sell to customers in multiple Economic Loss Zones? Yes No
16. Is your business a Landing Site, Commercial Wholesale or Retail Dealer A, or a
Primary Seafood Processor? C Yes No
17. Is your business a Commercial Wholesale or Retail Dealer B, a Secondary
Seafood Processor, a Seafood Wholesaler or Distributor, or a Seafood OO Yes No
Retailer?
18. Does your business fall within the Tourism Definition? OC Yes No
19. Is your business a Charter Fishing Operation? OJ Yes No
20. Did specific market changes outside your control, unrelated to the Spill, and
occurring after April 20, 2010, prevent your business from earning revenues |) Yes No
in 2011 that were comparable to pre-Spill periods?
If Yes, describe these market changes. Examples may include, but are not limited to, the following: (1) the

entry of a competitor in 2011; (2) the bankruptcy of a significant customer in 2011; (3) nearby road closures
affecting your business; (4) unanticipated interruption resulting in closure of your business; (5) the replacement of a
product or service by a customer; or (6) the loss of financing and/or reasonable terms of renewal.

21

. Did the Spill directly result in the cancellation of a contract that your business

was unable to replace? A Canceled Contract is a contract that was in place on April
20, 2010, and which was to be performed between April 21, 2010, and December 31,
2010, but was canceled between April 21, 2010, and December 31, 2010, and that you
were unable to replace on the same or similar terms.

CO Yes

If Yes, attach the contract and describe your efforts and inability to replace the contract:

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22. Did the Spill result in reservation cancellations that your business was unable
to rebook? A Canceled Reservation is a reservation that was in place on April 20, 2010,
and which was to occur between April 21, 2010, and December 31, 2010, but was CO Yes No
canceled between April 21, 2010, and December 31, 2010, and that you were unable to
replace on the same or similar terms.

If Yes, describe the cancellations and your efforts and inability to rebook the cancellations:

C. Selection of Benchmark and Compensation Periods

Claimants must make several elections to qualify for benefits. Claimants select one historical set of
years for all comparisons throughout the claims process (the Benchmark Period year(s)). In addition,
Claimants select two Compensation Periods. Consult the “Instructions for Completing the Business
Economic Claim Form (Purple Form)” for more information.

23. Select Benchmark Period years. Choose one of the following periods, which will serve as the baseline for
measuring your business’ historical financial performance. The Claims Administrator will review all the
documents and information you submit to determine the best Benchmark Period that maximizes your recovery,
even if that differs from the period you select. If you do not wish to pick a Benchmark Period at all and
instead would like the Claims Administrator to select your best Benchmark Period, select “Claims Administrator

Selected Benchmark Period.”

[1 2009; or
CO Average of 2008 and 2009; or
Average of 2007, 2008, and 2009.

[Claims Administrator Selected Benchmark.

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24.

Select Step 1 Compensation Period. Choose three or more consecutive months from May 2010 through
December 2010. You can check all of the boxes or as few as three. However, all boxes checked must be
consecutive. The Claims Administrator will review all the documents and information you submit to determine
the best Step 1 Compensation Period that maximizes your recovery, even if that differs from the period you
select. If you do not wish to pick a Step 1 Compensation Period at all and instead would like the Claims
Administrator to select your best Step 1 Compensation Period, select “Claims Administrator Selected Step 1
Compensation Period.” If you are eligible for compensation, a different Compensation Period may be selected
to determine your Total Compensation. Refer to the Settlement for further information on how your business’
Step 1 Compensation Period will be used in calculating Total Compensation.

May 2010 September 2010
June 2010 October 2010

July 2010 November 2010
August 2010 December 2010

(1 Claims Administrator Selected Step 1 Compensation Period

25.

Select Step 2 Compensation Period. Choose one of the following periods, which will serve as your
business’ Step 2 Compensation Period. If your business is eligible for compensation, the Step 2 Compensation
Period you select will be used to determine your business’ Total Compensation. The Claims Administrator will
review all the documents and information you submit to determine the best Step 2 Compensation Period that
maximizes your recovery, even if that differs from the period you select. If you do not wish to pick a Step 2
Compensation Period at all and instead would like the Claims Administrator to select your best Step 2
Compensation Period, select “Claims Administrator Selected Step 2 Compensation Period.” Refer to the
Settlement for further information on how your business’ Step 2 Compensation Period will be used in
calculating Total Compensation. NOTE: If you select a seven-consecutive-month or eight-consecutive-month
period for your Step 1 Compensation Period in Question 2, that same period of consecutive months in 2010
shall be used as your Step 2 Compensation Period.

O May — October 2010; or

[J June — November 2010; or

O July — December 2010; or

Use same 7 or 8 month period as Question 24; or

[1 Claims Administrator Selected Step 2 Compensation Period

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D. Documentation Required for a Business Economic Loss Claim

In addition to this Claim Form, you must submit certain Supporting Documentation to prove your Business Economic
Loss Claim. The list of required documents, and instructions for how to submit them, are in Section 4 of the
Business Economic Loss Instructions Booklet. If you do not submit the required Supporting Documentation, the
Claims Administrator will not be able to review your claim and you will not receive payment for your claim.

E. Payment

If You Have Your Own Attorney. Unless you check the box below, the Claims Administrator will make any
payments jointly to you and to your attorney, which means that both you and your attorney will need to
endorse the check before a bank will honor it.

Check here if you want the Claims Administrator to make payments in connection with this and any other
claim you may file in the Deepwater Horizon Economic and Property Settlement on/y to your attorney.
This means that the Claims Administrator will send your payment to your attorney, who will then pay you
pursuant to the retainer agreement you have with him/her.

If You Do Not Have Your Own Attorney. If you have not retained an attorney to represent you in
connection with your Spill-related claim, the Claims Administrator will make any payments to which you are
entitled directly to you by check. Payment checks will be sent by First Class Mail to the address you provided in
the Registration Form or to the address that the Claims Administrator confirms for you during the processing of
your Claim. You have an obligation to notify the Claims Administrator if your address changes.

The Claims Administrator will report annually to federal and state taxing authorities, using a Form 1099 or state
form equivalent, for certain payments made. The Claims Administrator will send you a copy of that form, but
cannot give you any tax advice regarding any payment issued to you. You should consult with your own tax
advisor to determine the tax impact of any payment you receive from the Claims Administrator.

Garnishments, Liens, and other Attachments. Legally authorized garnishments, liens, or similar forms of
attachments relating to your claim will be honored and deducted from your payment.

W-9 Form Requirement. All claimants must provide a W-9 Form. To obtain a copy of that form, go to
www.deepwaterhorizonsettlements.com, or request one at a Claimant Assistance Center or by calling 1-866-

992-6174.

Do you intend to seek reimbursement for Claimant Accounting Support Services in connection
with your claim?

Yes OJ No

If you check “Yes” for Question E.5, you must submit the documents listed in Section 4.E of the Business
Economic Loss Instructions Booklet.

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F. Signature

I certify and declare under penaity of perjury pursuant to 28 U.S.C. Section 1746 that the information provided in
this Claim Form is true and accurate to the best of my knowledge, and that supporting documents attached to or
submitted in connection with this form and the information contained therein are true, accurate, and complete to the
best of my knowledge, and I understand that false statements or claims made in connection with this Claim Form
may result in fines, imprisonment, and/or any other remedy available by law to the Federal Government, and that
suspicious claims will be forwarded to federal, state, and local law enforcement agencies for possible investigation

and prosecution.
I certify that I am authorized to act on behalf of the business submitting this Claim Form.

By submitting this Claim Form, I consent to the use and disclosure by the Claims Administrator and those assisting
the Claims Administrator of any information about me that they believe necessary and/or helpful to process my claim
for compensation and any payment resulting from that claim.

. . a: . . 6/4/2012

Signature: |/S/ William D. Robinson Date: (Month/Day/Year)
First iddl Last

Printed irs' Middle as

Name:

Title:

An authorized business representative must sign this Claim Form personally.

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